                                            Case 20-12112-CSS                  Doc 1          Filed 09/10/20                 Page 1 of 18


     Fill in this information to identify the case:


     United States Bankruptcy Court for the District of Delaware

     Case number (if known):                                     Chapter 11

                                                                                                                                                                  Check if this is an
                                                                                                                                                                   amended filing



  Official Form 201
  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            04/20

  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
  number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

    1.   Debtor’s name                                Brooks Brothers Canada Ltd.


    2.   All other names debtor used                  Brooks Brothers
         in the last 8 years

         Include any assumed names, trade
         names, and doing business as
         names




    3.   Debtor’s federal Employer
         Identification Number (EIN)                  N/A


    4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                            place of business


                                                      100        Phoenix Avenue
                                                      Number     Street                                                     Number                    Street



                                                                                                                            P.O. Box


                                                      Enfield                     CT                   06082
                                                      City                        State                ZIP Code             City                      State        ZIP Code

                                                                                                                            Location of principal assets, if different from
                                                                                                                            principal place of business
                                                      Hartford
                                                      County
                                                                                                                            Number            Street




                                                                                                                            City              State            ZIP Code



    5.   Debtor’s website (URL)                       https://www.brooksbrothers.com/


    6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                      ☐ Partnership (excluding LLP)
                                                      ☐ Other. Specify:


 Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              Page 1
RLF1 23974503V.1
                                 Case 20-12112-CSS                      Doc 1          Filed 09/10/20                Page 2 of 18
 Debtor        Brooks Brothers Canada Ltd.                                                                  Case number (if known)
               Name


                                              A. Check one:
 7.   Describe debtor’s business
                                              ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                              ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              ☒   None of the above


                                              B. Check all that apply:
                                              ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  4481 – Clothing Stores

 8.   Under which chapter of the
                                              Check one:
      Bankruptcy Code is the
      debtor filing?                          ☐ Chapter 7
                                              ☐ Chapter 9
                                              ☒ Chapter 11. Check all that apply:
      A debtor who is a “small business                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
      debtor” must check the first sub-box.                      and its aggregate noncontingent liquidated debts (excluding debts owed to
      A debtor as defined in § 1182(1)                           insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
      who elects to proceed under                                attach the most recent balance sheet, statement of operations, cash-flow
      subchapter V of chapter 11 (whether                        statement, and federal income tax return or if any of these documents do
      or not the debtor is a “small                              not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      business debtor”) must check the                         ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
      second sub-box.
                                                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                 Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax
                                                                 return or if any of these documents do not exist, follow the procedure in 11
                                                                 U.S.C. § 1116(1)(B).
                                                               ☐ A plan is being filed with this petition.
                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                 of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                 the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                 Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                 for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                 1934 Rule 12b-2.
                                              ☐ Chapter 12
 9.   Were prior bankruptcy cases             ☒ No
      filed by or against the debtor
      within the last 8 years?                ☐ Yes        District                       When                              Case number
                                                                                                        MM/ DD/ YYYY
      If more than 2 cases, attach a
      separate list.
                                                           District                       When                              Case number
                                                                                                        MM / DD/ YYYY




 Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    Page 2
WEIL:\97502482\4\30950.0070
                                   Case 20-12112-CSS                  Doc 1         Filed 09/10/20                 Page 3 of 18
 Debtor         Brooks Brothers Canada Ltd.                                                              Case number (if known)
                Name


 10. Are any bankruptcy cases             ☐ No
     pending or being filed by a
                                          ☒ Yes           Debtor       See Schedule 1                                      Relationship      See Schedule 1
     business partner or an
     affiliate of the debtor?                             District     Delaware                                            When              July 8, 2020
      List all cases. If more than 1,                                                                                                        MM / DD/ YYYY
                                                          Case number, if known
      attach a separate list.



    11. Why is the case filed in this         Check all that apply:
        district?
                                              ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                              ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                          ☒ No
     possession of any real
     property or personal property        ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate
     attention?                                       Why does the property need immediate attention? (Check all that apply.)
                                                      ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                           health or safety.

                                                          What is the hazard?
                                                      ☐    It needs to be physically secured or protected from the weather.
                                                      ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                           without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                           securities-related assets or other options).


                                                      ☐ Other


                                                       Where is the property?
                                                                                       Number                     Street


                                                                                       City                                State               ZIP Code
                                                      Is the property insured?
                                                                                       ☐ No
                                                                                        ☐ Yes. Insurance agency
                                                                                                  Contact Name
                                                                                                  Phone




                 Statistical and administrative information



    13. Debtor’s estimation of           Check one:
        available funds                  ☒     Funds will be available for distribution to unsecured creditors.
                                         ☐     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of              
                                         ☐     1-49                                    ☐      1,000-5,000                          ☐      25,001-50,000
        creditors                        ☐     50-99                                   ☐      5,001-10,000                         ☐      50,001-100,000
                                         ☐     100-199                                 ☐      10,001-25,000                        ☐      More than 100,000
                                         ☒     200-999




 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 3
RLF1 23974503V.1
                                Case 20-12112-CSS                    Doc 1          Filed 09/10/20                Page 4 of 18
 Debtor         Brooks Brothers Canada Ltd.                                                              Case number (if known)
                Name



    15. Estimated assets                 ☐    $0-$50,000                               ☒     $1,000,001-$10 million               ☐   $500,000,001-$1 billion
                                         ☐    $50,001-$100,000                         ☐     $10,000,001-$50 million              ☐   $1,000,000,001-$10 billion
                                         ☐    $100,001-$500,000                        ☐     $50,000,001-$100 million             ☐   $10,000,000,001-$50 billion
                                         ☐    $500,001-$1 million                      ☐     $100,000,001-$500 million            ☐   More than $50 billion

    16. Estimated liabilities            ☐    $0-$50,000                            ☐      $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                         ☐    $50,001-$100,000                      ☒      $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                         ☐    $100,001-$500,000                     ☐      $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                         ☐    $500,001-$1 million                   ☐      $100,000,001-$500 million              ☐   More than $50 billion



                 Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
           up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
      17. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
          authorized representative of               this petition.
          debtor
                                                    I have been authorized to file this petition on behalf of the debtor.

                                                    I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.
                                                     I declare under penalty of perjury that the foregoing is true and correct.

                                                         Executed on September 10, 2020
                                                                     MM / DD / YYYY




                                                         /s/ Stephen Marotta                                         Stephen Marotta
                                                         Signature of authorized representative of                   Printed name
                                                          debtor

                                                         Chief Restructuring Officer
                                                         Title



      18. Signature of attorney                      /s/ Zachary I. Shapiro                                        Date      September 10, 2020
                                                    Signature of attorney for debtor                                        MM / DD / YYYY
                                                    Zachary I. Shapiro                                            Garrett A. Fail
                                                      Printed Name
                                             
                                                    Richards, Layton & Finger, P.A.                               Weil, Gotshal & Manges LLP
                                                      Firm Name
                                             
                                                    One Rodney Square, 920 North King Street                      767 Fifth Avenue
                                                      Address
                                             
                                                    Wilmington, Delaware 19801                                    New York, New York 10153
                                                      City/State/Zip
                                             
                                                    (302) 651-7700                                                (212) 310-8000
                                                      Contact Phone
                                             
                                                    shapiro@rlf.com                                               garrett.fail@weil.com
                                                      Email Address
                                             
                                                    5103                                 Delaware
                                                    Bar Number                           State



 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          Page 4
RLF1 23974503V.1
                   Case 20-12112-CSS       Doc 1     Filed 09/10/20      Page 5 of 18




                                               Schedule 1

                     Pending Bankruptcy Cases Filed by Affiliates of the Debtor

            On July 8, 2020, each of the affiliated entities listed below filed a voluntary petition for
relief under chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court
for the District of Delaware.

                                             COMPANY
                       Brooks Brothers Group, Inc.
                       Brooks Brothers International, LLC
                       696 White Plains Road LLC
                       Brooks Brothers Restaurant, LLC
                       BBD Holding 1, LLC
                       BBD Holding 2, LLC
                       BBDI, LLC
                       Deconic Group LLC
                       Golden Fleece Manufacturing Group, LLC
                       RBA Wholesale, LLC
                       Retail Brand Alliance Gift Card Services, LLC
                       Retail Brand Alliance of Puerto Rico, Inc.
                       Brooks Brothers Far East Limited




RLF1 23974503V.1
                     Case 20-12112-CSS       Doc 1    Filed 09/10/20      Page 6 of 18



                                 ACTION BY WRITTEN CONSENT OF
                                     THE GOVERNING BODY
                                              OF
                                  BROOKS BROTHER CANADA LTD.

                                            September 9, 2020

                WHEREAS, the undersigned (the “Governing Body”) of Brooks Brothers Canada Ltd.
(the “Company”), does hereby consent to, adopt, and approve, by written consent in accordance with
the applicable provisions of the Ontario Business Corporations Act, the following resolutions and each
and every action effected thereby.
                WHEREAS, the Governing Body of the Company has reviewed and had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of the Company regarding the liabilities and liquidity of the Company, the strategic
alternatives available to it and the impact of the foregoing on the Company's businesses;
               WHEREAS, the Governing Body of the Company has had the opportunity to consult
with the management and the legal and financial advisors of the Company to fully consider, and has
considered, each of the strategic alternatives available to the Company;

                WHEREAS, on July 8, 2020, the Brooks Brothers Group, Inc. (“BBGI”) and certain of
its subsidiaries (collectively, the “Chapter 11 Debtors”) filed petitions seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and

                    WHEREAS, the Governing Body desires to approve the following resolutions.

       I.      Commencement of BB Canada Chapter 11 Case and Canadian Recognition
               Proceedings

                 NOW, THEREFORE, BE IT RESOLVED, that, with respect to the Company, the
Governing Body has determined, after consultation with the management and the legal and financial
advisors of the Company, that it is desirable and in the best interests of the Company, its creditors, and
other parties in interest that a petition be filed by the Company seeking relief under the Bankruptcy
Code (the “BB Canada Chapter 11 Case”) and to have the BB Canada Chapter 11 Case jointly
administered for procedural purposes as part of the chapter 11 cases of the Chapter 11 Debtors
(collectively, including with respect to the BB Canada Chapter 11 Case, the “Chapter 11 Cases”); and
be it further

                RESOLVED, that, with respect to the Company, the Governing Body has determined,
after consultation with the management and the legal and financial advisors of the Company, that it is
desirable and in the best interests of the Company, its creditors, and other parties in interest that the
Company file or cause any other Chapter 11 Debtor to file an application for the recognition of the
Chapter 11 Cases pursuant to proceedings under Part IV of the Companies’ Creditors Arrangement Act
(Canada) (the “Recognition Proceedings”) in the Ontario Superior Court of Justice (Commercial List)
(the “CCAA Court”); and be it further

                    RESOLVED, that any officer or other authorized person of the Company, including



WEIL:\97609638\4\30950.0001
                     Case 20-12112-CSS      Doc 1        Filed 09/10/20    Page 7 of 18



officers appointed pursuant to Section II below (each, an “Authorized Person”), in each case, acting
singly or jointly, be, and each hereby is, authorized, empowered, with full power of delegation, and
directed to negotiate, execute, deliver, and file, in the name and on behalf of the Company, and under
its corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists, applications,
pleadings, papers, affidavits, declarations, and other documents in connection with the Chapter 11
Cases (the “Chapter 11 Filings”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), or in connection with the Recognition Proceedings in the CCAA Court (the
“CCAA Materials”) (with such changes therein and additions thereto as any such Authorized Person
may deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11
Filings or the CCAA Materials by any such Authorized Person with any changes thereto to be
conclusive evidence that any such Authorized Person deemed such changes to meet such standard); and
be it further
                 RESOLVED, that each Authorized Person, in each case, acting singly or jointly, be,
and each hereby is, authorized, empowered, and directed to take and perform any and all further acts
and deeds which such Authorized Person deems necessary, appropriate, or desirable in connection with
the Chapter 11 Cases, the Chapter 11 Filings, the Recognition Proceedings, and/or the CCAA
Materials, including, without limitation, (i) the payment of fees, expenses and taxes such Authorized
Person deems necessary, proper, or desirable, and (ii) negotiating, executing, delivering, performing,
and filing any and all documents, motions, pleadings, applications, declarations, affidavits, schedules,
statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
modifications thereto) in connection with the Chapter 11 Cases and the Recognition Proceedings, with
a view to the successful prosecution of the Chapter 11 Cases and the Recognition Proceedings (such
acts to be conclusive evidence that such Authorized Person deemed the same to meet such standard);
and be it further
      II.      Officers

                RESOLVED, that the individuals set forth below be, and hereby are, elected to the
newly created offices of the Company set forth opposite their names, to serve subject to and in
accordance with, the governing documents of the Company and direction of the Governing Body, and
to hold such offices until their job is satisfied or until their earlier death, resignation or removal:

                    Stephen Marotta                       Chief Restructuring Officer

                    Adrian Frankum                        Restructuring Officer

     III.   Retention of Advisors
                RESOLVED, that, in connection with the Company's Chapter 11 Cases and the
Recognition Proceedings, each Authorized Person, in each case, acting singly or jointly, be, and each
hereby is, authorized, empowered, and directed to employ and retain all assistance by legal counsel,
accountants, financial advisors, investment bankers and other professionals which such Authorized
Person deems necessary, appropriate, or desirable in connection with, or in furtherance of, the
Company's Chapter 11 Cases and the Recognition Proceedings, with a view to the successful
prosecution of the Chapter 11 Cases and the Recognition Proceedings (such acts to be conclusive
evidence that such Authorized Person deemed the same to meet such standard); and be it further
                    RESOLVED, that, with respect to the Company, the law firm of Weil, Gotshal &


                                                     2
WEIL:\97609638\4\30950.0001
                     Case 20-12112-CSS      Doc 1       Filed 09/10/20   Page 8 of 18



Manges LLP, located at 767 Fifth Avenue, New York, New York 10153, is hereby retained as attorneys
for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further
                RESOLVED, that the law firm of Osler, Hoskin & Harcourt LLP, located at 100
King St. W, Toronto, Ontario M5X 1B8, is hereby retained as attorneys for BB Canada in the
Chapter 11 Cases and the Recognition Proceedings, subject to Bankruptcy Court approval with
respect to the Chapter 11 Cases; and be it further

                 RESOLVED, that, with respect to the Company, the firm of PJ Solomon, L.P., located
at 1345 Avenue of the Americas, 31st Floor, New York, New York 10105, is hereby retained as
investment banker for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval;
and be it further
                RESOLVED, that, with respect to the Company, the firm of Ankura Consulting Group
LLC, located at 485 Lexington Avenue, 10th Floor, New York, New York 10017, is hereby retained as
financial advisor for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and
be it further
                RESOLVED, that Prime Clerk, located at One Grand Central Place, 60 East 42nd
Street, Suite 1440, New York, NY 10165, is hereby retained as claims, noticing, and solicitation agent
for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further
                RESOLVED, that, with respect to the Company, each Authorized Person, in each case,
acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to take and
perform any and all further acts and deeds, including, without limitation, (i) the payment of any
consideration, (ii) the payment of fees, expenses and taxes such Authorized Person deems necessary,
proper, or desirable, and (iii) negotiating, executing, delivering and performing any and all documents,
motions, pleadings, applications, declarations, affidavits, schedules, statements, lists, papers,
agreements, certificates and/or instruments (or any amendments or modifications thereto) in connection
with the engagement of professionals contemplated by the foregoing resolutions (such acts to be
conclusive evidence that such Authorized Person deemed the same to meet such standard); and be it
further

     IV.       General

                 RESOLVED, that, with respect to the Company, each Authorized Person, in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to take and
perform any and all further acts or deeds, including, but not limited to, (i) the negotiation of such
additional agreements, amendments, modifications, supplements, renewals, replacements,
consolidations, substitutions, extensions, reports, documents, instruments, applications, notes or
certificates not now known but which may be required, (ii) the execution, delivery and filing (if
applicable) of any of the foregoing and (iii) the payment of all fees, consent payments, taxes and
other expenses as any such Authorized Person, in his or her sole discretion, may approve or deem
necessary, appropriate or desirable in order to carry out the intent and accomplish the purposes of the
foregoing resolutions and the transactions contemplated thereby, all of such actions, executions,
deliveries, filings and payments to be conclusive evidence of such approval or that such Authorized
Person deemed the same to be so necessary, appropriate or desirable; and be it further
                    RESOLVED, that any and all past actions heretofore taken by any Authorized

                                                    3
WEIL:\97609638\4\30950.0001
                     Case 20-12112-CSS     Doc 1       Filed 09/10/20   Page 9 of 18



Person or any director of the Company, in the name and on behalf of, or for the benefit of, the
Company or in furtherance of any or all of the preceding resolutions be, and the same hereby are,
ratified, confirmed, and approved in all respects.
                               [Remainder of page intentionally left blank]




                                                   4
WEIL:\97609638\4\30950.0001
DocuSign Envelope ID: F23510E6-5694-415F-9A10-2881FF40A673
                             Case 20-12112-CSS               Doc 1   Filed 09/10/20        Page 10 of 18




                           IN WITNESS WHEREOF, the undersigned, being the sole shareholder of Brooks
             Brothers Canada Ltd., has executed this written consent as of the date first set forth above.



                                                                BROOKS BROTHERS INTERNATIONAL,
                                                                LLC, as the sole shareholder of Brooks Brothers
                                                                Canada Ltd.



                                                                By:
                                                                Name: Stephen Marotta
                                                                Title: Chief Restructuring Officer




                                  [Signature Page to the Written Consent of Brooks Brothers Canada Ltd.]
                                        Case 20-12112-CSS                  Doc 1         Filed 09/10/20              Page 11 of 18




    Fill in this information to identify the case:

    Debtor name: Brooks Brothers Canada Ltd.
    United States Bankruptcy Court for the District of Delaware
                                                    (State)
    Case number (If known):                                                                                                                        ☐ Check if this is an
                                                                                                                                                   amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.
Name of creditor and complete mailing        Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                  address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                          example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                            debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                               loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                           professional
                                                                                           services, and
                                                                                           government
                                                                                             contracts)
                                                                                                                               Total claim, if      Deduction for         Unsecured
                                                                                                                                 partially             value of             claim
                                                                                                                                 secured             collateral or
                                                                                                                                                        setoff
1       110 Bloor Street West, Inc           Attn.: Violet Wytiuk                                                                                                          $2,832,096
        One Queen St.East, Ste 1925 Box 72   Phone: 416-360-7940
        C/O Cushman & Wakefield Asset        Email: violet.wytiuk@cushwake.com
                                                                                               Rent
        Services
        Toronto, On M5C 2W5
        Canada

2       Royal Bank Plaza                     Attn.: John Spano                                                                                                             $1,011,343
        Oxford Properties Group Inc          Phone: 416-865-6832
        c/o Royal Bank Plaza                 Email: jspano@oxfordproperties.com
        200 Bay Street Suite 1305 South
                                                                                               Rent
        Tower
        Toronto, ON M5J 2J1
        Canada

3       Warrington PCI Management            Attn.: Adam Spear                                                                                                               $522,385
        475189 British Columbia Ltd.         Phone: 604-602-1887
        1700-1030 West Georgia Street        Email: dcousins@warringtonpci.com
                                                                                               Rent
        Vancouver, Bc V6E 2Y3
        Canada

4       BCIMC Realty Corporation             Attn.: Jennifer Miller                                                                                                          $355,617
        2901 Bayview Ave., Unit C-105        Phone: 416-572-3628
        Toronto, On M2K 1E6                  Email: jennifermiller@quadreal.com                Rent
        Canada

5       Ivanhoe Cambridge II                 Attn.: Stephen Gascoine                                                                                                         $337,667
        1 Bass Pro Mills Drive               Phone: 905-879-1777 x 572113
        Vaughan, On L4K 5W4                  Email:                                            Rent
        Canada                               stephen.gascoine@ivanhoecambridge.com

6       Halton Hills Shopping Center         Attn.: Amanda Louden                                                                                                            $316,262
        Partners                             Phone: 317-464-8981
        P.O. Box 15659, Stn. A               Email: Amanda.louden@simon.com                    Rent
        Toronto, On M5W 1C1
        Canada



    Official Form 204                                 List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                         Page 1



WEIL:\97502482\4\30950.0070
                                          Case 20-12112-CSS                   Doc 1       Filed 09/10/20               Page 12 of 18
               Brooks Brothers Canada Ltd.                                                                Case number (if known)
               Name

Name of creditor and complete mailing         Name, telephone number, and email             Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                   address of creditor contact                     claim (for          claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                           example, trade       contingent,    claim amount. If claim is partially secured, fill in total
                                                                                             debts, bank       unliquidated,   claim amount and deduction for value of collateral
                                                                                                loans,          or disputed    or setoff to calculate unsecured claim.
                                                                                            professional
                                                                                            services, and
                                                                                            government
                                                                                              contracts)
                                                                                                                                   Total claim, if   Deduction for         Unsecured
                                                                                                                                     partially          value of             claim
                                                                                                                                     secured          collateral or
                                                                                                                                                         setoff
7       Expert Customs Broker                 Attn.: Louie Tolaini                                                                                                            $279,524
        2595 Inkster Blvd.                    Phone: 204-633-1200
        Winnipeg, Mb R3C 2E6                  Email: ar@ecb.com                              Trade Debt
        Canada

8       The Outlet Collection at Niagara      Attn.: April Daku                                                                                                               $237,562
        95 Wellington Street West, Suite      Phone: 905-687-7011 x 562107
        300                                   Email: april.daku@ivanhoecambridge.com            Rent
        Toronto, ON M5J 2R2
        Canada
9       Templeton Doc Limited                 Attn.: Christie Lim                                                                                                             $193,249
        7899 Templeton Road                   Phone: 604-231-5521
        Richmond, BC V7B 1Y7                  Email: christie.Lim@mcarthurglen.com              Rent
        Canada

10      Riocan Management, Inc                Attn.: Eric Topolnisky                                                                                                          $150,645
        700 Lawrence Avenue West Suite        Phone: 613-741-0751 x 33037
        315                                   Email: etopolnisk@riocan.com                      Rent
        Toronto, ON M6A 3B4
        Canada
11      Beyersbergen Interior                 Attn.: Casey Beyersbergen                                                                                                       $138,146
        15327-116 Avenue                      Phone: 780 451 4714
        Edmonton, Ab T5M 3Z5                  Email: reception@beyersbergen.com              Trade Debt
        Canada

12      Ivanhoe Cambridge, Inc                Attn.: Angel Zhang                                                                                                               $72,339
        P.O. Box 19097                        Phone: 604-948-8241
        1153 56Th Street                      Email:                                            Rent
        Delta, BC V4L 2P8                     angel.zhang@ivanhoecambridge.com
        Canada
13      Ivanhoe Cambridge In                  Attn.: Kate Davies                                                                                                               $72,291
        Crossiron Mills                       Phone: 403-984-6812
        Unit #800-261055 Crossiron Blvd.      Email:                                            Rent
        Rocky View, Ab T4A 0G3                kate.davies@ivanhoecambridge.com
        Canada
14      Kone, Inc                             Attn.: Jo-Anne Gilbert                                                                                                           $69,666
        Postal Station A                      Phone: 905-858-8383
        P.O. Box 4269                         Email: Jo-anne.gilbert@kone.com                Trade Debt
        Toronto, On M5W 5V2
        Canada
15      Rapid Response Restoration            Attn.: Cam Wight                                                                                                                 $63,772
        7862 - 10Th Street Ne                 Phone: 403-295-4693
        Calgary, Ab T2E 8W1                   Email: cwight@rapid-response-                  Trade Debt
        Canada                                restoration.com

16      Bell Canada                           Attn.: Mirko Bibic                                                                                                               $33,927
        Acct. #520053160                      Phone: 866-310-2355
        Customer Payment Centre               Email:
                                                                                              Utilities
        P.O. Box 3650 Station Don Mills
        Toronto, On M3C 3X9
        Canada
17      Koolspace                             Attn.: Steven Alikakos                                                                                                           $28,250
        427 Parkside Drive                    Phone: 416-560-2880
        Toronto, On M6R 2Z7                   Email: steve@koolspace.com                     Trade Debt
        Canada




    Official Form 204                                  List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                         Page 2



WEIL:\97502482\4\30950.0070
                                    Case 20-12112-CSS                  Doc 1         Filed 09/10/20               Page 13 of 18
            Brooks Brothers Canada Ltd.                                                              Case number (if known)
            Name

Name of creditor and complete mailing     Name, telephone number, and email            Nature of the        Indicate if   Amount of unsecured claim
address, including zip code               address of creditor contact                    claim (for          claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                      example, trade       contingent,    claim amount. If claim is partially secured, fill in total
                                                                                        debts, bank       unliquidated,   claim amount and deduction for value of collateral
                                                                                           loans,          or disputed    or setoff to calculate unsecured claim.
                                                                                       professional
                                                                                       services, and
                                                                                       government
                                                                                         contracts)
                                                                                                                              Total claim, if   Deduction for         Unsecured
                                                                                                                                partially          value of             claim
                                                                                                                                secured          collateral or
                                                                                                                                                    setoff
18   Ainsworth, Inc                       Attn.: Craig Stanford                                                                                                           $19,454
     #104 - 17741 65A Ave.                Phone: 604 576 1357
     Surrey, Bc V3S 1Z8                   Email: nosc@ainsworth.com                     Trade Debt
     Canada

19   CEC Leaseholds Inc.                  Attn.: Pina Dennis                                                                                                              $15,189
     333 7th Ave Sw, Suite 900            Phone: 403-441-4901
     C/O Cushman & Wakefield Asset        Email: corereception@cushwake.com
                                                                                           Rent
     Services
     Calgary, AB T2P 2Z1
     Canada
20   DLA Piper (Canada) LLC               Attn.: Simon Levine                                                                                                             $13,040
     1 First Canadian Place, Ste. 6000    Phone: 416-365-3500
     P.O. Box 367, 100 King Street West   Email: diana.hobden@dlapiper.com              Trade Debt
     Toronto, On M5X 1E2
     Canada




 Official Form 204                                List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                         Page 3



WEIL:\97502482\4\30950.0070
                   Case 20-12112-CSS           Doc 1      Filed 09/10/20   Page 14 of 18




                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :   Chapter 11
                                                             :
BROOKS BROTHERS CANADA LTD.                                  :   Case No. 20-________
                                                             :
                                    Debtor.                  :
                                                             :
------------------------------------------------------------ x

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
         TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

          Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, attached hereto

as Exhibit A is an organizational chart reflecting all of the ownership interests in Brooks Brothers

Group, Inc. (“Brooks Brothers”) and its affiliated debtors in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors”) including Brooks

Brothers Canada Ltd. The Debtors respectfully represent as follows:

          1.        The following entities own, directly or indirectly, the below equity interests in

Brooks Brothers:

               a. The Del Vecchio Family Trust owns approximately 15.1% of the Class A Common
                  Stock in Brooks Brothers.

               b. DV Family, LLC owns approximately 5.9% of the Class A Common Stock in
                  Brooks Brothers.

               c. The CDV 2015 Annuity Trust owns approximately 71.5% of the Class A Common
                  Stock in Brooks Brothers.

               d. Delfin S.á r.l. owns approximately 7.5% of the Class A Common Stock in Brooks
                  Brothers.

               e. Castle Apparel Limited owns 100% of the Class B Common Stock in Brooks
                  Brothers.




WEIL:\97611918\2\30950.0071
                   Case 20-12112-CSS        Doc 1    Filed 09/10/20    Page 15 of 18




          2.        Brooks Brothers International, LLC directly owns 100% of the equity or

membership interests, as applicable, in the following Debtors:

               a. BBD Holding 1, LLC (“Holdco 1”).

               b. BBD Holding 2, LLC (“Holdco 2”).

               c. Brooks Brothers Canada Ltd.

          3.        Holdco 1 and Holdco 2 each own 50% of the membership interests in BBDI, LLC.

          4.        The following entities own, directly or indirectly, the below equity interests in

Brooks Brothers Far East Limited (“Brooks Brothers Far East”):

               a. Brooks Brothers owns 99.8% of the shares of Brooks Brothers Far East.

               b. Claudio Del Vecchio owns 0.2% of the shares of Brooks Brothers Far East.

          5.        Brooks Brothers directly owns 100% of the equity or membership interests, as

applicable, of each other Debtor.




                                                    2
WEIL:\97611918\2\30950.0071
                                                                        Case 20-12112-CSS                                       Doc 1            Filed 09/10/20                    Page 16 of 18




                                                                                                                                       Exhibit A

                                                                                                                          Organizational Chart


                                                                                                                                                                                                                                               Debtor




                                                                                       Brooks Brothers Group, Inc.                                                                                                                           Non-Debtor
                                                                                               (Delaware)




                                                                                                                                                                                                                                                                   99.8%
696 White Plains                                                                         Retail Brand Alliance Gift                              Brooks Brothers                              Brooks Brothers                                                                Brooks Brothers
                                                                                                                                                                                                                                   Various Non-Debtor
   Road, LLC                                                                               Card Services, LLC                                    Restaurant, LLC                             International, LLC                                                              Far East Limited
                                                                                                                                                                                                                                       Subsidiaries
   (New York)                                                                                     (Virginia)                                        (Delaware)                                   (Delaware)                                                                    (Hong Kong)




                        Golden Fleece                                                                                 Retail Brand Alliance of                                                                    BBD Holding 1, LLC                    BBD Holding 2, LLC
                                                                  RBA Wholesale, LLC
                   Manufacturing Group, LLC                                                                              Puerto Rico, Inc.                                                                           (Delaware)                            (Delaware)
                                                                      (Delaware)
                          (Delaware)                                                                                         (Delaware)


                                                                                                                                                               Brooks Brothers Canada Ltd.
                                                                                                                                                                    (Ontario, Canada)
                                              Deconic Group LLC                                                                                                                                                                         BBDI, LLC
                                                  (Delaware)                                                                                                                                                                            (Delaware)




                                                                                                                                                                                             Various Non-Debtor                         Non-Debtor
                                                                                                                                                                                                Subsidiaries                            Subsidiary




                                                                                                                                                                                                                                                     *Ownership is 100% unless
                                                                                                                                                                                                                                                     otherwise indicated.




               WEIL:\97611918\2\30950.0071
                   Case 20-12112-CSS           Doc 1      Filed 09/10/20   Page 17 of 18




                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :   Chapter 11
                                                             :
BROOKS BROTHERS CANADA LTD.                                  :   Case No. 20-________
                                                             :
                                    Debtor.                  :
                                                             :
------------------------------------------------------------ x

                              LIST OF EQUITY SECURITY HOLDERS

         Following is the list of the Debtor’s equity security holders, which is prepared in

accordance with Bankruptcy Rule 1007(a)(3) for filing in this chapter 11 case.

                                            NAME AND ADDRESS OF                PERCENTAGE OF
             DEBTOR
                                              EQUITY HOLDER                     EQUITY HELD
                                        Brooks Brothers International, LLC
  Brooks Brothers Canada Ltd.           100 Phoenix Ave.                              100%
                                        Enfield, CT 06082




RLF1 23981029V.1
                          Case 20-12112-CSS                    Doc 1          Filed 09/10/20              Page 18 of 18




 Fill in this information to identify the case:

 Debtor name: Brooks Brothers Canada Ltd.
 United States Bankruptcy Court for the District of Delaware
                                                (State)
 Case number (If known):




Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                              12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


              Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
   correct:
   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on September 10, 2020
                                                       /s/ Stephen Marotta
                                                        Signature of individual signing on behalf of debtor
                     MM / DD /YYYY
                                                          Stephen Marotta
                                                        Printed name

                                                          Chief Restructuring Officer
                                                        Position or relationship to debtor




 Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors


WEIL:\97502482\4\30950.0070
